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                         IN THE UNITED STATES DISTRICT COURT
 1                         FOR THE DISTRICT OF PUERTO RICO
 2
                                              )
     UNITED STATES OF AMERICA,                )
 3
                                              )
                   Plaintiff,                 )
 4
                                              ) Case No: 19-714(PAD)
          v.                                  )
 5
     (2) FREDDY JOSE MARVAL-RIVERO            )
                Defendant,                    )
 6
                                              )
                                              )
 7

 8
                              MOTION TO DISMISS INDICTMENT
 9
     TO THE HON. PEDRO A DELGADO HERNANDEZ
10   US DISTRICT COURT JUDGE

11          COMES NOW Mr. Freddy Jose Marval-Rivero by his attorney,
12   and very respectfully States and Prays:
13
            On    September     21,   2020,    the       Government        filed   a    Motion
14
     Requesting       the   Court     to    make        a     pre-trial     jurisdictional
15
     determination.(ECF#29)           The      United             States        requests     a
16
     determination that the defendant’s vessel is “subject to the
17
     jurisdiction of the United States” within the meaning of the
18

19   Maritime Drug Law Enforcement Act (MDLEA), 46 U.S.C. §§ 70501 et

20   seq. (ECF#29)

21          The    Government     states    that    the       exercise     of   jurisdiction
22   over    a    foreign-flagged      vessel,          when      the   flag     nation    has
23
     consented      or   waived    objection       to       the   enforcement      of   United
24
     States is proven in trial conclusively by certification of the
25

26

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     Secretary of State or the Secretary’s designee, as per 46 U.S.C.
 1
     § 70502(c)(2). (ECF# 29, p. 5)
 2

 3           Mr. Marval respectfully alleges that the Maritime Drug Law

 4   Enforcement Act, 46 U.S.C. §70502(c)(2) 1, violates Article III of

 5   the US Constitution and Marval’s Sixth Amendment Right to a jury
 6   trial by giving dispositive weight to the executive branch’s
 7
     assertion that jurisdiction exists.
 8
                                               RELEVANT FACTS
 9
             On    October       19,     2019,      while      on    routine        patrol,       a    Marine
10
     Patrol Aircraft (MPA) located a Go-Fast Vessel (GFV) heading
11
     north        at    20kts      60NM      North       of     La     Guajira,         Colombia.          Upon
12

13   detection by the MPA, the GFV altered course south and began to

14   jettison          packages.       The    MPA     reported         this      information          to    the

15   Dutch Navy Vessel HNLMS GRONINGEN with a United States Coast
16   Guard Law Enforcement Detachment (LEDET). The Dutch Navy Vessel
17
     HNLMS GRONINGEN deployed their small boat, with US LEDET members
18
     onboard. Once within visual distance from the GFV, the Dutch
19
     Navy Vessel small boat engaged the blue light announcing law
20
     enforcement presence. The GFV was underway and the Dutch Navy
21
     Vessel       small     boat      had     to    give      pursuit       of    the     GFV,     reaching
22

23   speeds       of     20+     knots.        While       giving       chase,        law     enforcement

24
     1
      “Consent or waiver of objection by a foreign nation to the enforcement of United States law by the
25   United States . . . (A) may be obtained by radio, telephone, or similar oral or electronic means; and (B) is
     proved conclusively by certification of the Secretary of State or the Secretary’s designee. (emphasis
26   added).
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     observed packages being jettisoned from the GFV. Throughout the
 1
     pursuit, LEDET members were giving verbal commands for the GFV
 2

 3   to halt. Ultimately, the GFV came to a stop.

 4          The Dutch Navy Vessel (This important fact totally omitted

 5   by the Dept. of State Certifying Officer) deployed a small Dutch
 6   Navy    boat     with   US    Coastguard           personal      and    they      proceeded      to
 7
     board    the     defendant’s        vessel.        The    master       of   the    GFV   made     a
 8
     verbal claim of Venezuelan nationality for the vessel and its
 9
     crew. This apparently to the US Coastguard teams that are on a
10
     foreign     nation      vessel,          operating        with    them      presumably      in    a
11
     technical assistance capacity.
12

13          We   do    not   know       if    it   is    the    U.S.A.      or    the    Dutch   Navy

14   contacted        Venezuela.        On     October         19,    2019,       the    recognized

15   government of Venezuela waived its primary right to exercise
16   jurisdiction over the GFV and its crew and consented to the
17
     enforcement of United States law.
18
            A second Dutch Navy small boat with presumably Dutch Navy
19
     Personnel was deployed to recover the jettisoned packages. The
20
     Dutch Navy recovered a total of eleven (11) bales of contraband
21
     were     recovered.          The        Dutch      Navy     Law        enforcement       seized
22

23   approximately 330 kilograms of cocaine. A field test of a sample

24   resulted positive to cocaine. The second small Dutch Navy boat

25   also recovered satellite phones, cellular phones, documents, and
26

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     wallets.    Ion   scan    swipes       on      the    vessel     yielded    positive     to
 1
     cocaine. All defendants were arrested in international waters.
 2

 3        On    November      6,    2019,      a    federal    grand     jury    returned    an

 4   indictment    against         all   three       defendants       charging       them   with

 5   Aiding and Abetting in the Possession with Intent to Distribute
 6   a   Controlled    Substance         on        Board   a   Vessel     Subject      to   the
 7
     Jurisdiction of the United States. ECF No. 19.
 8
          On March 5, 2020, Coast Guard Commander David Bartram, the
 9
     U.S. Secretary of State’s authorized designee under the MDLEA,
10
     certified    under    penalty        of       perjury     that    the    Government     of
11
     Venezuela authorized the United States to exercise jurisdiction
12

13   over the Go-Fast Vessel, its cargo, and its crew.

14                                            ARGUMENT

15        Mr. Marval challenges the district court’s subject-matter
16   jurisdiction, arguing that the Maritime Drug Law Enforcement Act
17
     delegates    to    the        Executive         Branch,    in     violation       of   the
18
     constitutional separation of powers (Article III), the power to
19
     manufacture federal jurisdiction over vessels in international
20
     waters, regardless of whether they are in fact stateless, or
21
     even as in the present case, in which the record belies that
22

23   determination.

24        The    MDLEA,    disables         the      adversary       system     by   requiring

25   courts to accept the Executive Branch’s assertion that subject-
26

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     matter       jurisdiction            exists.         It    thus       requires         this      Court       to
 1
     accept unquestioningly facts whose veracity is essential to the
 2

 3   existence         of    an     Article        III     case      or    controversy.            See     United

 4   States v. Cardales-Luna, 632 F.3d 731 (CA1 2011) 2 as to the

 5   conclusive          nature        of     the      Secretary          of     State       Certification.
 6   Cardales-Luna,             wrongfully          deprives         the     district           court     of    its
 7
     obligation to sua sponte determine whether the jurisdictional
 8
     requirements of the MDLEA had been met.
 9
             The Supreme Court in Northern Pipeline Construction Co. v.
10
     Co., 458 U.S. 50 (1982), and United States v. Klein, 80 U.S. (13
11
     Wall.)       128     (1872)),          delineated         the      federal        courts’        exclusive
12

13   area of duty and authority, establish that Congress’ revision to

14   the      MDLEA       intruded          on     judicial          authority.            In     Klein,        the

15   plaintiff sued the United States, as administrator of the estate
16   of V.F. Wilson, for compensation for cotton seized from Wilson
17
     during the Civil War. Though he had aided the rebellion, Wilson
18
     availed himself of an amnesty by taking an oath of allegiance to
19
     the United States in 1864. He thereby received a presidential
20
     pardon. The Supreme Court had earlier ruled that the property of
21
     a pardoned rebel was purged of its owner’s crimes. See United
22

23   States v. Padelford, 76 U.S. (9 Wall.) 531 (1870). Accordingly,

24   the Court of Claims awarded Wilson’s estate $125,300. While the

25   2
      In Cardales-Luna, Appellants did not make the argument that Mr. Marval is presenting to this Court. Mainly, that
     MDLEA's certification procedure violates separation of powers by unconstitutionally delegating the jurisdiction
26   determination to the executive branch, as opposed to the judiciary.

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     government’s     appeal        was    pending,      Congress    enacted       a   statute
 1
     similar   to    the     MDLEA.       It   provided    (1)    that     no    presidential
 2

 3   pardon or amnesty was admissible in evidence against the United

 4   States in the Court of Claims, (2) that any such pardon or

 5   amnesty in fact constituted “conclusive evidence in the Court of
 6   Claims, and on appeal, that such person did take part in, and
 7
     gave aid to the rebellion,” and (3) that “on proof of such
 8
     pardon ... the jurisdiction of the court shall cease, and the
 9
     suit shall be forthwith dismissed.” See 80 U.S. at 143–44.
10
           The Supreme Court held that the statute exceeded Congress’
11
     authority     because     it     stripped     the    courts     of    the    ability    to
12

13   decide cases and dictated the effect they had to give certain

14   evidence:      “[T]he    court       is   forbidden     to    give     the    effect   to

15   evidence which, in its own judgment, such evidence should have,
16   and is directed to give it an effect precisely contrary. We must
17
     think that Congress has inadvertently passed the limit which
18
     separates the legislative from the judicial power.” Id. at 147.
19
           The MDLEA suffers from the identical defect as the statute
20
     in   Klein.    It,    too,     gives      “conclusive”       weight    to    a    document
21
     created by the Executive Branch that, in turn, determines the
22

23   jurisdiction of Article III courts. Congress lacks the power to

24   take away the Judicial Branch’s authority to decide cases and

25   assign it to the Executive Branch.
26

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            Northern Pipeline reaffirmed that Congress cannot delegate
 1
     deciding cases, including making factual findings, to an entity
 2

 3   that   is     not    an    Article    III    court.   That    case    held    that    the

 4   Bankruptcy Act of 1978 violated Article III by requiring certain

 5   lawsuits      to    be     decided,   even    over    objection,      by     bankruptcy
 6   courts rather than district courts. 458 U.S. at 87 (plurality),
 7
     91 (concurrence). The Court understood that, if Congress could
 8
     assign the duty of deciding cases or controversies to a non-
 9
     Article III entity, it could end impartial adjudication and,
10
     hence, the Rule of Law itself: “The Federal Judiciary was ...
11
     designed by the Framers to stand independent of the Executive
12

13   and Legislature — to maintain the checks and balances of the

14   constitutional structure, and also to guarantee that the process

15   of adjudication itself remained impartial.” 458 U.S. at 58.
16          The MDLEA is a more egregious violation of Article III than
17
     the Bankruptcy Act of 1978. The Bankruptcy Act’s fatal defect
18
     was that it allowed judges who did “not enjoy the protections
19
     constitutionally afforded to Art. III judges” to decide cases.
20
     458    U.S.     at        60.   The   MDLEA     assigns      the     power    to     find
21
     jurisdictional facts to a party in a criminal case. While the
22

23   Bankrupt      Act    created      a   mere    risk    of   partiality,       the   MDLEA

24   guarantees it.

25

26

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            The MDLEA goes even further and requires federal courts to
 1
     exercise jurisdiction even when there is proof that the boat in
 2

 3   question     is    not    a   “covered       vessel.”         This    violates         the    well-

 4   established Article III corollary that the parties to a suit

 5   cannot create jurisdiction. Insurance Corp. of Ireland Ltd. v.
 6   Compagnie      des     Bauxites       de    Guinee,      456       U.S.       694,   702     (1982)
 7
     (“[N]o     action        of     the     parties         can     confer          subject-matter
 8
     jurisdiction upon a federal court.”); People’s Bank v. Calhoun,
 9
     12 Otto (102 U.S.) 256, 260–61 (1880) (“[T]he mere consent of
10
     parties cannot confer upon a court of the United States the
11
     jurisdiction       to    hear    and       decide   a    case.”).         It    follows       that,
12

13   contrary to what the MDLEA purports to authorize, the Executive

14   Branch     cannot       create     jurisdiction          with        a    certificate.          The

15   prosecution has the burden in every case of proving jurisdiction
16   exists as a matter of fact.
17
           Criminal proceedings exist to require prosecutors to prove
18
     the   facts       on    which    convictions        depend          using       fair    methods.
19
     Congress, it follows, cannot tell federal judges that they have
20
     to    accept      Executive        Branch       assertions           as        truths       without
21
     impermissibly invading the Judicial Branch’s exclusive area of
22

23   sovereign      authority.        If    the    revised     MDLEA          is    constitutional,

24   nothing     stops       Congress       from    passing         a     statute         that     says,

25   “Jurisdiction is conclusively established in the federal courts
26

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     whenever      any   federal       prosecutor    certifies     that    there    is
 1
     jurisdiction.”
 2

 3        The     revised    MDLEA     impermissibly    encroaches    on   the     core

 4   judicial function of deciding cases. The revised MDLEA is an

 5   unconstitutional usurpation of judicial power by the political
 6   branches. Here the government wants to preclude discovery as tot
 7
     eh court jurisdiction in case where the certification is silent
 8
     as to the fact that it was a Dutch Navy Foreign Vessel that
 9
     arrested the Defendants and that seized the drugs.
10
          WHEREFORE,        Mr.    Freddy   Jose     Marval-Rivero     respectfully
11
     request that the Indictment be dismiss, as the Maritime Drug Law
12

13   Enforcement Act, 46 U.S.C. §70502(c)(2), violates Article III of

14   the US Constitution.

15   In San Juan, Puerto Rico, September 22, 2020.
16                           S/RAYMOND L. SANCHEZ-MACEIRA
                           RAYMOND L. SANCHEZ MACEIRA, ESQ.
17
                                    USDC NO. 211405
18                               COUNSEL FOR DEFENDANT
                                     PO BOX 191972
19                                 SAN JUAN PR 00919
                         TEL. 787-721-3370/ FAX 787-721-4706
20
                                  CERTIFICATE OF SERVICE
21
          I     Hereby      Certify:     That   on     September     22,   2020,     I
22

23   electronically filed the foregoing with the clerk of the court

24   using CM/ECF system which will send notification of such filing

25   to the following: US. ATTORNEY OFFICE
26

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 1   In SanJuan P.R. September 22, 2020
 2
                    S/RAYMOND L. SANCHEZ-MACEIRA
 3                         USDC NO. 211405

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